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USDC SDNY

UNITED STATES DISTRICT COURT DOCUMENT

 

 

 

 

SOUTHERN DISTRICT OF NEW YORK ) ELECTRONICALLY FILED
eee ” \| DOC #:
UNITED STATES OF AMERICA PE FILED: /0 [77/20
-against ORDER
19 CR 810 (KMW)

ARNOLD LEVINE,

Defendant.

 

KIMBA M. WOOD, District Judge:

The Court will hold a teleconference in the above-captioned case on Wednesday, October
21, 2020, at 10:30 a.m.

To join the teleconference, the parties should dial 888-363-4749 and enter access code
1613818.

SO ORDERED.

Dated: New York, New York
October 19, 2020

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} KIMBA M, WOOD
UNITED STATES DISTRICT JUDGE

 
